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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 21-01234JVS(AFMx)                                                  Date     May 3, 2021

 Title             Chris Crisman v Elis Green, LLC, et al


 Present: The                    James V. Selna, US District Court Judge
 Honorable
                         Lisa Bredahl                                                  Not Present
                         Deputy Clerk                                                 Court Reporter
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                          Not Present                                                  Not Present
 Proceedings:           (In Chambers)          ORDER TO SHOW CAUSE RE
                                               DISMISSAL FOR LACK OF PROSECUTION

       The Court ORDERS plaintiff(s), to Show Cause (OSC) in writing no later than May
28, 2021 why this action should not be dismissed for lack of prosecution as to the
defendant. As an alternative to a written response by plaintiff(s), the Court will consider the
filing of one of the following, as an appropriate response to this OSC, on or before the above
date:

    X Plaintiff's filing of a motion(s)/application(s) for entry of default judgment

      Absent a showing of good cause, an action shall be dismissed if the summons and
complaint have not been served upon all defendants within 90 days after the filing of the
complaint. Fed. R. Civ. P. 4(m) The Court may dismiss the action prior to the expiration
of such time, however, if plaintiff(s) has/have not diligently prosecuted the action.

      It is the plaintiff’s responsibility to respond promptly to all orders and to prosecute the
action diligently, including filing proofs of service and stipulations extending time under
Rule 55 remedies promptly upon default of any defendant. All stipulations affecting the
progress of the case must be approved by the Court. Local Rule 7-1.

         Scheduling Conference set for May 10, 2021 at 11:30 a.m. is ordered VACATED.


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                                                               Initials of Preparer         lmb



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